                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

  SAMUEL SHAW, JR.,                            )
                                               )
               Plaintiff,                      )
                                               )
  v.                                           )     No.    3:18-CV-155-TAV-DCP
                                               )
  MIKE PARRIS,                                 )
  STANTON HIEDLE,                              )
  TOMMY JEFFERS,                               )
  M. MONKHOUSE, and                            )
  STEVE CANTRELL,                              )
                                               )
               Defendants.                     )


                                   JUDGMENT ORDER

        For the reasons set forth in the Memorandum Opinion filed contemporaneously

  with this Order, Defendants’ motion for summary judgment [Doc. 103] is GRANTED,

  Defendants’ motion to dismiss [Doc. 107] is DENIED as moot, and this action is

  DISMISSED without prejudice.

        Because the Court CERTIFIED in its Memorandum Opinion that any appeal from

  this order would not be taken in good faith, Plaintiff is DENIED leave to proceed in forma

  pauperis on any subsequent appeal. See 28 U.S.C. § 1915(a)(3); Fed. R. App. P. 24.

        IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    UNITED STATES DISTRICT JUDGE
   ENTERED AS A JUDGMENT

         LeAnna R. Wilson
        CLERK OF COURT



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